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                                        “AS IS” BILL OF SALE

       In consideration of the terms of this “As Is” Bill of Sale and other good and valuable
consideration, Advanced Tissue LLC, a Delaware limited liability company (“Seller”) hereby conveys
to Direct Medical Incorporated (“Buyer”) on an AS IS, WHERE IS BASIS, the personal property
described herein.

         1.      Purchase Price and Purchased Inventory. Buyer shall pay Seller $85,000 (less any
previously paid deposit) (“Purchase Price”) for all of Buyer’s right, title, and interest in any and all
inventory described on Exhibit A (“Purchased Inventory”). The Purchase Price shall be paid via
wire instructions on the day of execution of this “As Is” Bill of Sale and before Buyer is entitled to
take title or delivery of any Purchased Inventory.

        2.     Delivery. The Buyer hereby accepts delivery of the Purchased Inventory. The Seller
shall have no further obligation to assemble or ship the Purchased Inventory, to tender documents, or
otherwise take any action with respect to the delivery of the Purchased Inventory.

        3.      Exclusion of Representations and Warranties. This sale is made on an AS IS,
WHERE IS BASIS AND WITHOUT REPRESENTATIONS OR WARRANTIES OF ANY KIND.
The Buyer acknowledges that the Seller is not a dealer in goods of this type, that the Seller does not
have, or hold itself out as having, any knowledge or skill peculiar to the goods involved in this
transaction, and that the Buyer has determined to purchase the Purchased Inventory upon the basis of
the Buyer’s own judgment, relying upon such inspection of the Purchased Inventory as the Buyer may
have seen fit to make prior to the issuance of this “As Is” Bill of Sale. Accordingly, the Seller makes
no affirmations, promises, representations or warranties, as to the Purchased Inventory or the
condition, quality, quantity, status of title, suitability, existence, value, merchantability or fitness for a
particular purpose or operating characteristics of the Purchased Inventory, as to any prior use of the
Purchased Inventory, or any other matter whatsoever, and the Buyer assumes all risks as to the
Purchased Inventory. The Seller specifically disclaims and excludes any warranty of merchantability
and any warranty of fitness for a particular purpose.

       4.     Sales Taxes. The Buyer will pay all sales, use and other taxes, if any, due in
connection with, or as a result of, this sale.

       5.     Entire Agreement. The Seller and Buyer acknowledge and agree that this “As Is” Bill
of Sale constitutes the entire agreement of the parties; that there are no communications or oral
understandings contrary, or that in any way restrict, this “As Is” Bill of Sale; and that all prior
agreements or understandings are, upon the execution and delivery of this “As Is” Bill of Sale,
superseded, null and void.

Dated: August ___, 2021                                Advanced Tissue LLC
                                                       By:__________________________
                                                          Its:________________________
ACCEPTED AND AGREED TO BY THE
BUYER:
Direct Medical Incorporated

By: ____________________________
   Its: __________________________
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                          “PURCHASED INVENTORY”
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